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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF OKLAHOMA


                                                           MDL No. 6:20-2977-RJS-CMR
IN RE: BROILER CHICKEN GROWER
ANTITRUST LITIGATION (NO. II)                              Hon. Chief Judge Robert J. Shelby

                                                           Hon. Cecilia M. Romero


                                   NOTICE OF SETTLEMENT

        Plaintiffs1 and Pilgrim’s Pride Corporation (“PPC” and collectively with Plaintiffs, the
“Parties”) write to provide formal notice to the Court that the Parties have reached a class action
settlement to fully resolve all of Plaintiffs’ and the certified class’s claims against PPC.
        The Parties are working to memorialize the terms of their binding term sheet into a long-
form settlement agreement, which they will present to the Court for preliminary approval on the
timeline contained in the Parties’ joint status report regarding settlement. The Parties have agreed
to a litigation standstill and respectfully request that all deadlines in this multidistrict litigation be
suspended while the Parties seek preliminary and subsequently final approval of the settlement.
 Dated: July 10, 2024                                   Respectfully submitted,

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       “Plaintiffs” includes Haff Poultry, Inc., Nancy Butler, Johnny Upchurch, Jonathan
Walters, Myles Weaver, Marc McEntire, Karen McEntire, and Mitchell Mason, on behalf of
themselves and all others similarly situated.


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                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 10, 2024, I electronically transmitted a true and correct copy

of the foregoing document to the Clerk of Court for filing using the CM/ECF system, which will

send notification of such filing to all counsel of record.


                                                             /s/ Daniel J. Walker
                                                             Daniel J. Walker*




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